Case 1:18-cv-00588-LPS Document 15 Filed 05/04/18 Page 1 of 2 PageID #: 1935

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May 4, 2018
VIA E-FILE AND HAND DELIVERY

The Honorable Sherry R. Fallon
United States District Court for the District of Delaware
844 N. King Street
Unit 14, Room 6100
Wilmington, DE 19801


        Re:        Citrix Systems, Inc. v. Workspot, Inc.,
                   C.A. No. 1:18-cv-00588-VAC-SRF

Dear Judge Fallon:

       Today Plaintiff Citrix Systems, Inc. (“Citrix”) filed a motion for preliminary injunction
(the “Motion”) seeking to preliminary enjoin Defendant Workspot, Inc. (“Workspot”) from: (1)
making, using, selling, or offering to sell products that infringe certain Citrix patents and (2)
making false and misleading statements about Citrix’s products.

        By way of background, on April 19, 2018, Citrix filed the complaint in this action (D.I.
1) which alleges, inter alia, that Workspot has infringed and continues to infringe four of Citrix’s
patents, U.S. Patent Nos. 7,949,677; 8,341,732; 7,594,018; and 8,135,843 (the “Asserted
Patents”) and that Workspot has made, and continues to make, false and misleading statements
about Citrix’s products in violation of § 43(a) of the Lanham Act (15 U.S.C. § 1125(a)), the
Delaware Deceptive Trade Practices Act (6 Del. C. § 2531, et seq.), and common law unfair
competition. Citrix needs preliminary injunctive relief because, as set forth in Citrix’s opening
brief, Workspot’s conduct has irreparably harmed Citrix.

        Citrix respectfully requests a conference at the Court’s earliest convenience to discuss the
scheduling of a hearing on the Motion and an appropriate schedule for discovery and briefing
related thereto. For instance, at the outset, Citrix will need discovery into non-public Workspot
technical and business information. The parties have begun the meet-and-confer process
regarding an appropriate schedule.

       Counsel is available at the Court’s earliest convenience should the Court have any
questions.




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Case 1:18-cv-00588-LPS Document 15 Filed 05/04/18 Page 2 of 2 PageID #: 1936




Respectfully submitted,

DLA Piper LLP (US)

/s/ Denise S. Kraft

Denise S. Kraft
Partner

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